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        UNITED STATES DISTRICT COURT
(       SOUTHERN DISTRICT OF NEW YORK

         UNITED STATES OF AMERICA
                                                                S4 23 Cr. 490 (SHS)
                         -v.-
                                                                 PROTECTIVE ORDER
         ROBERT MENENDEZ,                                        WITH RESPECT TO CERTAIN
         NADINE MENENDEZ,                                        CLASSIFIED MATERIALS
              a/k/a "Nadine Arslanian,"
         WAELHANA,
                  a/k/a "Will Hana," and
         FRED DAIBES,

                                        Defendants.


                 This matter came before the Court on the Government's supplemental motion (the

        "Government' s Supplemental Motion"), exhibits, and the declarations of Government officials,

        which were filed ex parte, in camera, and through the Classified Information Security Officer on

(       April 15, 2024 (collectively, the "Government Submission").

                 ~e Government' s Supplemental Motion sought a protective order, pursuant to Section 4

        of the Classified Information Procedures Act ("CIPA") and Rule 16(d)(l) of the Federal Rules of

        Criminal Procedure, regarding certain classified materials and/or information. See 18 U.S.C.

        App. 3, § 4. After ex parte, in camera consideration of the Government Submission, this Court

        finds:

                        1.       The   Government      Submission     contains   and      describes   classified

        information that requires protection against unauthorized disclosure.             That information is

        described with particularity in the Government Submission.

                       2.       The head of the department(s) that has or have control of the classified

        information described in the Government Submission, after personal consideration, has or have

    (   lodged the state secrets privilege with respect to that classified information.
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                   3.      Disclosure of the Classified Materials, as defined in the Government's

    Supplemental Motion, to the defendants, defense counsel, or the public could reasonably be

    expected to harm national security.

                   4.      The Classified Materials are either not discoverable under Brady v.

    Maryland, 373 U.S. 83 (1963), and its progeny, or Rule 16 of the Federal Rules of Criminal

    Procedure, or otherwise, and/or are not relevant and helpful to the defense, that is, useful to counter

    the Government's case or bolster a defense, as required under United States v. Arel, 533 F.3d 72,

    78 (2d Cir. 2008).

                   Accordingly, it is:

                   ORDERED that the Government's Supplemental Motion is granted, and the

    Classified Materials, as defined in the Government' s Supplemental Motion, and described herein,

    need not be disclosed to the defense; and it is further
(
                   ORDERED that the Government Submission is hereby sealed, and shall remain

    preserved in the custody of the Classified Information Security Officer or his designee, m

    accordance with established court security procedures, until further order of this Court.

                   SO ORDERED this       11    day o f ~, 2024.



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                                                                YH. STEIN
                                                              s District Judge
                                                   Southern District of New York




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